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06
                             UNITED STATES DISTRICT COURT
07                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )
10                                        )           Case No. 05-471M
           v.                             )
11                                        )
     KEVIN GOUIN,                         )           DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offense charged:

15          Possession of child pornography in violation of Title 18 U.S.C. §§ 2252(a)(4)(B) and

16 (b)(2) and 2.

17 Date of Detention Hearing:     December 2, 2005.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          The Court conducted a detention hearing pursuant to 18 U.S.C. § 3142(f). Based

20 upon the factual findings and statement of reasons for detention set forth below, the Court

21 finds that defendant is a flight risk and a danger to the community:

22          (1)    Defendant is a Canadian citizen.

23          (2)    Defendant’s mother was involved with the departure of his brother, a co-

24 defendant, to Canada.

25          (3)    A substantial amount of child pornography was found in defendant’s mother’s

26 home, where the defendant resided.
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01          (4)    Defendant stated that the images found had aroused him and that this scared

02 him.

03          (5)    There appear to be no conditions or combination of conditions that will

04 reasonably assure the defendant’s appearance at future Court hearings and that will address

05 the danger to other persons or the community

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the

09                 extent practicable, from persons awaiting or serving sentences, or being held

10                 in custody pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation

12                 with counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which

15                 defendant is confined shall deliver the defendant to a United States Marshal

16                 for the purpose of an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United

19                 States Pretrial Services Officer.

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                   DATED this 2nd day of December, 2005.


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                                                         JAMES P. DONOHUE
23                                                       United States Magistrate Judge
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